Case 1:14-cv-01658-GBL-TCB Document 23-1 Filed 05/08/15 Page 1 of 9 PageID# 102




                        EXHIBIT 1
       Case 1:14-cv-01658-GBL-TCB Document 23-1 Filed 05/08/15 Page 2 of 9 PageID# 103

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November 28, 2010



Leaked Cables Offer Raw Look at U.S.
Diplomacy
By SCOTT SHANE and ANDREW W. LEHREN
WASHINGTON — A cache of a quarter­million confidential American diplomatic cables, most
of them from the past three years, provides an unprecedented look at back­room bargaining by
embassies around the world, brutally candid views of foreign leaders and frank assessments of
nuclear and terrorist threats.

Some of the cables, made available to The New York Times and several other news
organizations, were written as recently as late February, revealing the Obama administration’s
exchanges over crises and conflicts. The material was originally obtained by WikiLeaks, an
organization devoted to revealing secret documents. WikiLeaks posted 220 cables, some
redacted to protect diplomatic sources, in the first installment of the archive on its Web site on
Sunday.

The disclosure of the cables is sending shudders through the diplomatic establishment, and
could strain relations with some countries, influencing international affairs in ways that are
impossible to predict.

Secretary of State Hillary Rodham Clinton and American ambassadors around the world have
been contacting foreign officials in recent days to alert them to the expected disclosures. A
statement from the White House on Sunday said: “We condemn in the strongest terms the
unauthorized disclosure of classified documents and sensitive national security information.”

The White House said the release of what it called “stolen cables” to several publications was a
“reckless and dangerous action” and warned that some cables, if released in full, could disrupt
American operations abroad and put the work and even lives of confidential sources of
American diplomats at risk. The statement noted that reports often include “candid and often
incomplete information” whose disclosure could “deeply impact not only U.S. foreign policy
interests, but those of our allies and friends around the world.”

The cables, a huge sampling of the daily traffic between the State Department and some 270
embassies and consulates, amount to a secret chronicle of the United States’ relations with the
    Case 1:14-cv-01658-GBL-TCB Document 23-1 Filed 05/08/15 Page 3 of 9 PageID# 104
world in an age of war and terrorism. Among their revelations, to be detailed in The Times in
coming days:

¶ A dangerous standoff with Pakistan over nuclear fuel: Since 2007, the United States has
mounted a highly secret effort, so far unsuccessful, to remove from a Pakistani research reactor
highly enriched uranium that American officials fear could be diverted for use in an illicit
nuclear device. In May 2009, Ambassador Anne W. Patterson reported that Pakistan was
refusing to schedule a visit by American technical experts because, as a Pakistani official said,
“if the local media got word of the fuel removal, ‘they certainly would portray it as the United
States taking Pakistan’s nuclear weapons,’ he argued.”

¶ Thinking about an eventual collapse of North Korea: American and South Korean officials
have discussed the prospects for a unified Korea, should the North’s economic troubles and
political transition lead the state to implode. The South Koreans even considered commercial
inducements to China, according to the American ambassador to Seoul. She told Washington
in February that South Korean officials believe that the right business deals would “help salve”
China’s “concerns about living with a reunified Korea” that is in a “benign alliance” with the
United States.

¶ Bargaining to empty the Guantánamo Bay prison: When American diplomats pressed other
countries to resettle detainees, they became reluctant players in a State Department version of
“Let’s Make a Deal.” Slovenia was told to take a prisoner if it wanted to meet with President
Obama, while the island nation of Kiribati was offered incentives worth millions of dollars to
take in Chinese Muslim detainees, cables from diplomats recounted. The Americans,
meanwhile, suggested that accepting more prisoners would be “a low­cost way for Belgium to
attain prominence in Europe.”

¶ Suspicions of corruption in the Afghan government: When one of Afghanistan’s two vice
presidents visited the United Arab Emirates last year, local authorities working with the Drug
Enforcement Administration discovered that he was carrying $52 million in cash. With wry
understatement, a cable from the American Embassy in Kabul called the money “a significant
amount” that the official, Ahmed Zia Massoud, “was ultimately allowed to keep without
revealing the money’s origin or destination.” (Mr. Massoud denies taking any money out of
Afghanistan.)

¶ A global computer hacking effort: China’s Politburo directed the intrusion into Google’s
computer systems in that country, a Chinese contact told the American Embassy in Beijing in
January, one cable reported. The Google hacking was part of a coordinated campaign of
computer sabotage carried out by government operatives, private security experts and Internet
    Case 1:14-cv-01658-GBL-TCB Document 23-1 Filed 05/08/15 Page 4 of 9 PageID# 105
outlaws recruited by the Chinese government. They have broken into American government
computers and those of Western allies, the Dalai Lama and American businesses since 2002,
cables said.

¶ Mixed records against terrorism: Saudi donors remain the chief financiers of Sunni militant
groups like Al Qaeda, and the tiny Persian Gulf state of Qatar, a generous host to the American
military for years, was the “worst in the region” in counterterrorism efforts, according to a
State Department cable last December. Qatar’s security service was “hesitant to act against
known terrorists out of concern for appearing to be aligned with the U.S. and provoking
reprisals,” the cable said.

¶ An intriguing alliance: American diplomats in Rome reported in 2009 on what their Italian
contacts described as an extraordinarily close relationship between Vladimir V. Putin, the
Russian prime minister, and Silvio Berlusconi, the Italian prime minister and business
magnate, including “lavish gifts,” lucrative energy contracts and a “shadowy” Russian­speaking
Italian go­between. They wrote that Mr. Berlusconi “appears increasingly to be the mouthpiece
of Putin” in Europe. The diplomats also noted that while Mr. Putin enjoyed supremacy over all
other public figures in Russia, he was undermined by an unmanageable bureaucracy that often
ignored his edicts.

¶ Arms deliveries to militants: Cables describe the United States’ failing struggle to prevent
Syria from supplying arms to Hezbollah in Lebanon, which has amassed a huge stockpile since
its 2006 war with Israel. One week after President Bashar al­Assad promised a top State
Department official that he would not send “new” arms to Hezbollah, the United States
complained that it had information that Syria was providing increasingly sophisticated
weapons to the group.

¶ Clashes with Europe over human rights: American officials sharply warned Germany in 2007
not to enforce arrest warrants for Central Intelligence Agency officers involved in a bungled
operation in which an innocent German citizen with the same name as a suspected militant
was mistakenly kidnapped and held for months in Afghanistan. A senior American diplomat
told a German official “that our intention was not to threaten Germany, but rather to urge that
the German government weigh carefully at every step of the way the implications for relations
with the U.S.”

The 251,287 cables, first acquired by WikiLeaks, were provided to The Times by an
intermediary on the condition of anonymity. Many are unclassified, and none are marked “top
secret,” the government’s most secure communications status. But some 11,000 are classified
“secret,” 9,000 are labeled “noforn,” shorthand for material considered too delicate to be
    Case 1:14-cv-01658-GBL-TCB Document 23-1 Filed 05/08/15 Page 5 of 9 PageID# 106
shared with any foreign government, and 4,000 are designated both secret and noforn.

Many more cables name diplomats’ confidential sources, from foreign legislators and military
officers to human rights activists and journalists, often with a warning to Washington: “Please
protect” or “Strictly protect.”

The Times, after consultations with the State Department, has withheld from articles and
removed from documents it is posting online the names of some people who spoke privately to
diplomats and might be at risk if they were publicly identified. The Times is also withholding
some passages or entire cables whose disclosure could compromise American intelligence
efforts. While the White House said it anticipated WikiLeaks would make public “several
hundred thousand” cables Sunday night, the organization posted only 220 released and
redacted by The Times and several European publications.

The cables show that nearly a decade after the attacks of Sept. 11, 2001, the dark shadow of
terrorism still dominates the United States’ relations with the world. They depict the Obama
administration struggling to sort out which Pakistanis are trustworthy partners against Al
Qaeda, adding Australians who have disappeared in the Middle East to terrorist watch lists,
and assessing whether a lurking rickshaw driver in Lahore, Pakistan, was awaiting fares or
conducting surveillance of the road to the American Consulate.

They show officials managing relations with a China on the rise and a Russia retreating from
democracy. They document years of effort to prevent Iran from building a nuclear weapon —
and of worry about a possible Israeli strike on Iran with the same goal.

Even when they recount events that are already known, the cables offer remarkable details.

For instance, it has been previously reported that the Yemeni government has sought to cover
up the American role in missile strikes against the local branch of Al Qaeda. But a cable’s fly­
on­the­wall account of a January meeting between the Yemeni president, Ali Abdullah Saleh,
and Gen. David H. Petraeus, then the American commander in the Middle East, is
breathtaking.

“We’ll continue saying the bombs are ours, not yours,” Mr. Saleh said, according to the cable
sent by the American ambassador, prompting one of Yemen’s deputy prime ministers to “joke
that he had just ‘lied’ by telling Parliament” that Yemen had carried out the strikes.

Mr. Saleh, who at other times resisted American counterterrorism requests, was in a
lighthearted mood. The authoritarian ruler of a conservative Muslim country, Mr. Saleh
complains of smuggling from nearby Djibouti, but tells General Petraeus that his concerns are
    Case 1:14-cv-01658-GBL-TCB Document 23-1 Filed 05/08/15 Page 6 of 9 PageID# 107
drugs and weapons, not whiskey, “provided it’s good whiskey.”

Likewise, press reports detailed the unhappiness of the Libyan leader, Col. Muammar el­
Qaddafi, when he was not permitted to set up his tent in Manhattan or to visit ground zero
during a United Nations session last year.

But the cables add a touch of scandal and alarm to the tale. They describe the volatile Libyan
leader as rarely without the companionship of “his senior Ukrainian nurse,” described as “a
voluptuous blonde.” They reveal that Colonel Qaddafi was so upset by his reception in New
York that he balked at carrying out a promise to return dangerous enriched uranium to Russia.
The American ambassador to Libya told Colonel Qaddafi’s son “that the Libyan government
had chosen a very dangerous venue to express its pique,” a cable reported to Washington.

The cables also disclose frank comments behind closed doors. Dispatches from early this year,
for instance, quote the aging monarch of Saudi Arabia, King Abdullah, as speaking scathingly
about the leaders of Iraq and Pakistan.

Speaking to another Iraqi official about Nuri Kamal al­Maliki, the Iraqi prime minister, King
Abdullah said, “You and Iraq are in my heart, but that man is not.” The king called President
Asif Ali Zardari of Pakistan the greatest obstacle to that country’s progress. “When the head is
rotten,” he said, “it affects the whole body.”

The American ambassador to Eritrea reported last year that “Eritrean officials are ignorant or
lying” in denying that they were supporting the Shabab, a militant Islamist group in Somalia.
The cable then mused about which seemed more likely.

As he left Zimbabwe in 2007 after three years as ambassador, Christopher W. Dell wrote a
sardonic account of Robert Mugabe, that country’s aging and erratic leader. The cable called
him “a brilliant tactician” but mocked “his deep ignorance on economic issues (coupled with
the belief that his 18 doctorates give him the authority to suspend the laws of economics).”

The possibility that a large number of diplomatic cables might become public has been
discussed in government and media circles since May. That was when, in an online chat, an
Army intelligence analyst, Pfc. Bradley Manning, described having downloaded from a military
computer system many classified documents, including “260,000 State Department cables
from embassies and consulates all over the world.” In an online discussion with Adrian Lamo,
a computer hacker, Private Manning said he had delivered the cables and other documents to
WikiLeaks.

Mr. Lamo reported Private Manning’s disclosures to federal authorities, and Private Manning
    Case 1:14-cv-01658-GBL-TCB Document 23-1 Filed 05/08/15 Page 7 of 9 PageID# 108
was arrested. He has been charged with illegally leaking classified information and faces a
possible court­martial and, if convicted, a lengthy prison term.

In July and October, The Times, the British newspaper The Guardian and the German
magazine Der Spiegel published articles based on documents about Afghanistan and Iraq.
Those collections were placed online by WikiLeaks, with selective redactions of the Afghan
documents and much heavier redactions of the Iraq reports.

Fodder for Historians

Traditionally, most diplomatic cables remain secret for decades, providing fodder for
historians only when the participants are long retired or dead. The State Department’s
unclassified history series, titled “Foreign Relations of the United States,” has reached only
1976.

While an overwhelming majority of the quarter­million cables provided to The Times are from
the post­9/11 era, several hundred date from 1966 to the 1990s. Some show diplomats
struggling to make sense of major events whose future course they could not guess.

In a 1979 cable to Washington, Bruce Laingen, an American diplomat in Tehran, mused with a
knowing tone about the Iranian revolution that had just occurred: “Perhaps the single
dominant aspect of the Persian psyche is an overriding egoism,” Mr. Laingen wrote, offering
tips on exploiting this psyche in negotiations with the new government. Less than three
months later, Mr. Laingen and his colleagues would be taken hostage by radical Iranian
students, hurling the Carter administration into crisis and, perhaps, demonstrating the hazards
of diplomatic hubris.

In 1989, an American diplomat in Panama City mulled over the options open to Gen. Manuel
Noriega, the Panamanian leader, who was facing narcotics charges in the United States and
intense domestic and international political pressure to step down. The cable called General
Noriega “a master of survival”; its author appeared to have no inkling that one week later, the
United States would invade Panama to unseat General Noriega and arrest him.

In 1990, an American diplomat sent an excited dispatch from Cape Town: he had just learned
from a lawyer for Nelson Mandela that Mr. Mandela’s 27­year imprisonment was to end. The
cable conveys the momentous changes about to begin for South Africa, even as it discusses
preparations for an impending visit from the Rev. Jesse L. Jackson.

The voluminous traffic of more recent years — well over half of the quarter­million cables date
from 2007 or later — show American officials struggling with events whose outcomes are far
    Case 1:14-cv-01658-GBL-TCB Document 23-1 Filed 05/08/15 Page 8 of 9 PageID# 109
from sure. To read through them is to become a global voyeur, immersed in the jawboning,
inducements and penalties the United States wields in trying to have its way with a recalcitrant
world.

In an era of satellites and fiber­optic links, the cable retains the archaic name of an earlier
technological era. It has long been the tool for the secretary of state to send orders to the field
and for ambassadors and political officers to send their analyses to Washington.

The cables have their own lexicon: “codel,” for a Congressional delegation; “visas viper,” for a
report on a person considered dangerous; “démarche,” an official message to a foreign
government, often a protest or warning.

But the drama in the cables often comes from diplomats’ narratives of meetings with foreign
figures, games of diplomatic poker in which each side is sizing up the other and neither is
showing all its cards.

Among the most fascinating examples recount American officials’ meetings in September 2009
and February 2010 with Ahmed Wali Karzai, the half brother of the Afghan president and a
power broker in the Taliban’s home turf of Kandahar.

They describe Mr. Karzai, “dressed in a crisp white shalwar kameez,” the traditional dress of
loose tunic and trousers, appearing “nervous, though eager to express his views on the
international presence in Kandahar,” and trying to win over the Americans with nostalgic tales
about his years running a Chicago restaurant near Wrigley Field.

But in midnarrative there is a stark alert for anyone reading the cable in Washington: “Note:
While we must deal with AWK as the head of the Provincial Council, he is widely understood to
be corrupt and a narcotics trafficker.” (Mr. Karzai has denied such charges.) And the cables
note statements by Mr. Karzai that the Americans, informed by a steady flow of eavesdropping
and agents’ reports, believe to be false.

A cable written after the February meeting coolly took note of the deceit on both sides.

Mr. Karzai “demonstrated that he will dissemble when it suits his needs,” the cable said. “He
appears not to understand the level of our knowledge of his activities. We will need to monitor
his activity closely, and deliver a recurring, transparent message to him” about the limits of
American tolerance.

Not All Business

Even in places far from war zones and international crises, where the stakes for the United
     Case 1:14-cv-01658-GBL-TCB Document 23-1 Filed 05/08/15 Page 9 of 9 PageID# 110
States are not as high, curious diplomats can turn out to be accomplished reporters, sending
vivid dispatches to deepen the government’s understanding of exotic places.

In a 2006 account, a wide­eyed American diplomat describes the lavish wedding of a well­
connected couple in Dagestan, in Russia’s Caucasus, where one guest is the strongman who
runs the war­ravaged Russian republic of Chechnya, Ramzan Kadyrov.

The diplomat tells of drunken guests throwing $100 bills at child dancers, and nighttime
water­scooter jaunts on the Caspian Sea.

“The dancers probably picked upwards of USD 5000 off the cobblestones,” the diplomat wrote.
The host later tells him that Ramzan Kadyrov “had brought the happy couple ‘a five­kilo lump
of gold’ as his wedding present.”

“After the dancing and a quick tour of the premises, Ramzan and his army drove off back to
Chechnya,” the diplomat reported to Washington. “We asked why Ramzan did not spend the
night in Makhachkala, and were told, ‘Ramzan never spends the night anywhere.’ ”

Scott Shane reported from Washington, and Andrew W. Lehren from New York. Reporting was
contributed by Jo Becker, C. J. Chivers and James Glanz from New York; Eric Lichtblau, Michael
R. Gordon, David E. Sanger, Charlie Savage, Eric Schmitt and Ginger Thompson from
Washington; and Jane Perlez from Islamabad, Pakistan.



This article has been revised to reflect the following correction:

Correction: December 3, 2010

An article on Monday about classified State Department cables obtained by WikiLeaks, an
organization devoted to revealing secret documents, misstated the most recent year covered by the
department’s unclassified history series, titled “Foreign Relations of the United States.” It is 1976, not
1972.

The article also referred incorrectly to Ahmed Zia Massoud, an Afghan official who, a secret cable
reported, visited the United Arab Emirates last year carrying $52 million in cash, described as a
“significant amount.” Mr. Massoud, who has denied the report, was one of Afghanistan’s two vice
presidents; he was not the lone vice president. And the article also referred incorrectly to an
unidentified Yemeni official who, according to another secret cable, had joked about lying to
Yemen’s parliament by saying that Yemeni forces, not American forces, had carried out missile
strikes in Yemen against Al Qaeda targets. The unidentified official was one of Yemen’s two deputy
prime ministers, not the only one.
